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FoR THE wEs'rERN DIsTRIcT oF TENNESSEE GL]HB_.?, g ;_ F, 0
wEsTERN DIv:l:sIoN ` “' 3 H d= 2

 

UNITED STATES OF AMERICA

vsc No¢ 02_20380"'Bv

MICHAEL R. SMITH,
Reg. No. 18586-076,

vv\.r\.rv`¢\_f\-'\_¢

Defendant.

 

ORDER AND WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

 

DAVID JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN

WARDEN, USP, POLLOCK, LA

A hearing on defendant's pro se motion for bond pending appeal
has been set in the above-styled case and it is necessary to have
Michael R. Smith. Reg. No. 18586-076, now being detained in the
USPl Pollockc Louisiana, appear before Magistrate Judg§ Diane K.

Vescovo on Thursdayl June 16c 2005, at 2:00 p.m. for the hearing.

YOU ARE HEREBY DIRECTED to have Michael R. Smith appear before

 

Ma istrate Jud e Diane K. vescovo at the date and time
aforementioned.

ENTERED this 16th day of May, 2005.

@/¢W /K Z/m/y¢

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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UNITED `sETATsDIsTRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 310 in
case 2:02-CR-203 80 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

